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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,§
     Plaintiffs,                   §
                                   §
v.                                 §           Case No. 5:21-CV-0844-XR
                                   §
GREGORY W. ABBOTT, et al.,         §
     Defendants.                   §

                                    §
OCA-GREATER HOUSTON, et al.,        §
     Plaintiffs,                    §
v.                                  §          Case No. 1:21-CV-0780-XR
                                    §
JOSE A. ESPARZA, et al.,            §
      Defendants.                   §

                                    §
HOUSTON JUSTICE, et al.,            §
    Plaintiffs,                     §
v.                                  §          Case No. 5:21-CV-0848-XR
                                    §
GREGORY WAYNE ABBOTT, et al.,       §
    Defendants.                     §

                                    §
LULAC TEXAS, et al.,                §
     Plaintiffs,                    §
                                    §
v.                                  §          Case No. 1:21-CV-0786-XR
                                    §
JOSE ESPARZA, et al.,               §
      Defendants.                   §

                                    §
MI FAMILIA VOTA, et al.,            §
     Plaintiffs,                    §
                                    §
v.                                  §          Case No. 5:21-CV-0920-XR
                                    §
GREG ABBOTT, et al.,                §
     Defendants.                    §
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   PLAINTIFFS’ NOTICE OF JOINDER IN OPPOSITION TO INTERVENTION

       Plaintiffs OCA-Greater Houston; League of Women Voters of Texas; REVUP-Texas,

Texas Organizing Project, and Workers Defense Action Fund (collectively, the OCA-Greater

Houston Plaintiffs) hereby join in the Opposition to the Public Interest Legal Foundation’s

Motion to Intervene filed by Plaintiffs Houston Justice; Houston Area Urban League; Delta

Sigma Theta Sorority, Inc.; The Arc of Texas; Jeffrey Lamar Clemmons (collectively,

“Houston Justice Plaintiffs”) (Dkt. 49).

       While the putative intervenor (“PILF”) has not expressly sought to intervene in the

OCA-Greater Houston Plaintiffs’ action and, indeed, did not meet and confer with the OCA-

Greater Houston Plaintiffs prior to filing its motion to intervene, PILF nevertheless purports

to reserve the right to respond to OCA-Greater Houston’s complaint pursuant to footnote 1 of

its motion to intervene. To the extent that PILF seeks to intervene in the OCA-Greater Houston

Plaintiffs’ action, its Motion should be denied for the reasons set forth in the Houston Justice

Plaintiffs’ Opposition, as the OCA-Greater Houston Plaintiffs are identically situated to the

Houston Justice Plaintiffs in respect to the intervention, and would be harmed in identical

ways if the intervention was permitted.




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DATED: October 21, 2021


                              Respectfully submitted,

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